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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           NORTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                        Case No. 2:23−cr−00012−RJJ−MV

   v.                                      Hon. Robert J. Jonker

MATTHEW JOSEPH SHEEHAN,

         Defendant.
                                     /



                           NOTICE OF HEARING


TAKE NOTICE that a hearing has been scheduled as set forth below:

                      Initial Pretrial Conference
Type of hearing(s):   Scheduling Conference
Date/Time:            November 29, 2023 02:00 PM
Magistrate Judge:     Maarten Vermaat
Place/Location:       Marquette, MI

Counsel should come prepared to discuss trial dates and/or ends of justice
motions. Defendant must attend unless their appearance is waived in writing at
least three days before the conference. The parties shall each e−file an IPTC
summary statement within 7 days of the date of this notice. See the Court's
standard IPTC summary statement forms at www.miwd.uscourts.gov under
Forms/Criminal Forms. This hearing will be done in the Courtroom.



                                         MAARTEN VERMAAT
                                         U.S. Magistrate Judge

Dated: November 15, 2023           By:    /s/ C. A. Moore
                                         Courtroom Deputy
